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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the OIL RIG                 §          MDL-2179
       “DEEPWATER HORIZON” in the               §
       GULF OF MEXICO, on                       §
       APRIL 20, 2010                           §          SECTION “J”
                                                §
                                                §
THIS DOCUMENT RELATES TO:                       §          JUDGE BARBIER
                                                §          MAG. JUDGE SHUSHAN
       10-cv-3059 and 11-cv-0516                §




                         ORDER GRANTING MOTION TO
                    ENROLL ADDITIONAL COUNSEL OF RECORD

       Considering the foregoing Motion to Enroll Additional Counsel of Record;

       IT IS ORDERED that Lambert J. Hassinger, Jr. (La. Bar No 21683), Galloway Johnson

Tompkins Burr and Smith, One Shell Square, 701 Poydras St., 40th Floor, New Orleans,

Louisiana 70139, email address: jhassinger@gjtbs.com is enrolled as additional counsel of

record in this matter on behalf of the Plaintiff, the State of Louisiana through James D. “Buddy”

Caldwell, Louisiana Attorney General.

       New Orleans, Louisiana, on this ________ day of ___________________, 2011.




                                                    ____________________________________
                                                    HONORABLE CARL J. BARBIER
                                                    UNITED STATES DISTRICT JUDGE




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